                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


 TIMOTHY JACKSON,
      Plaintiff,

 v.                                                     C.A. No. 4:21-cv-00033

 LAURA WRIGHT, ET AL.,
      Defendants.


                                            ORDER

          Before the Court is Defendants’ Opposed Motion to Stay Proceedings Pending Appeal.

Having considered the motion, law, and the relevant pleadings, the Court issues the following

orders:

          Defendants’ Opposed Motion to Stay Proceedings Pending Appeal is hereby GRANTED.

It is further ORDERED that all proceedings and pending deadlines in this case are hereby

STAYED pending the resolution of the appeal of this Court’s Memorandum and Opinion (Dkt

#47).




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